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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK

 

x
In re: Chapter 11
CHU H. KWON, et al.', Case No. 1:19-44290 (ESS)
Jointly Administered
Debtor. Hon. Elizabeth S. Stong
---X

 

FIRST AMENDED DISCLOSURE STATEMENT TO SECURED
CREDITOR 5‘ AVENUE MIXED USE LLC'S FIRST AMENDED
PLAN OF REORGANIZATION FOR 4811 ASSOCIATES LLC.

 

THIS IS NOT A SOLICITATION OF ACCEPTANCES OR REJECTIONS OF THE PLAN.
ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL A DISCLOSURE
STATEMENT HAS BEEN APPROVED BY THE BANKRUPTCY COURT. THIS
DISCLOSURE STATEMENT IS BEING SUBMITTED TO THE BANKRUPTCY COURT
FOR APPROVAL BUT HAS NOT BEEN APPROVED BY THE BANKRUPTCY COURT.

 

 

 

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(516) 746-8000
Frank-C-Del'Ameore_Ese-
Christopher D. Palmieri, Esq.

Attorneys for 5" Avenue Mixed Use LLC

Dated: Garden City, New York
Januaryt4 May 22, 2020

 

' A list of the Debtors in these chapter 11 cases, along with the case numbers and last four digits of each Debtor’s
federal tax identification number, is listed on the Appendix attached hereto.

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Secured creditor 5‘° Avenue Mixed Use LLC (the “Secured Creditor” or “Plan
Proponent”) has filed its First Amended Plan of Reorganization for 4811 Associates LLC (the
“Plan”), with the United States Bankruptcy Court for the Eastern District of New York (the
“Bankruptcy Court”). This_First Amended Disclosure Statement for Secured Creditors Plan of
Reorganization for 4811 Associates LLC (the “Disclosure Statement”) is being submitted for the
approval of the Bankruptcy Court for use in connection with the Plan filed to sell substantially all
of the assets of the estate of 4811 Associates LLC (the “Debtor’’) pursuant to § 1125 of Title 11
of the United States Code (the “Bankruptcy Code”).

A copy of the Plan accompanies this Disclosure Statement. A glossary of terms
frequently used in this Disclosure Statement is set forth in Article 1 of the Plan_whose definitions
shall apply to this Disclosure Statement_to the extent_any capitalized terms are not already
defined herein.

The Secured Creditor believes that Confirmation of the Plan is in the best interests
of all the Debtor’s creditors.

SUMMARY OF THE PLAN

The Plan provides for the Plan Prepenent,or_its designated _nominee,to—purehase
thereorganization of the Debtor through the liquidation of Debtor's real property and
improvements thereon located at 4811 5 Avenue, Brooklyn, New York 11220 (Block 775; Lot
4) (the “Property”) fremtheDebtor in accordance with the-previsi he-Bankruptes

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a_ broker selected by the

     

ef-+the-Plan-through a public Sale. The Sale shall be marketed throu

Secured Creditor and shall take place approximately thirty (30) days_after Confirmation or as
soon as practicable thereafter. The Property shall be sold free and clear of all liens, claims and
encumbrances pursuant to §§ 363(f) and 1123(a)(5) of the Bankruptcy Code (subject only to
residential tenancies evidenced by a valid written lease).”

 
         

   
 

    
  

   

proceeds of the Sale shall be used to pay the creditors of the Debtor, includin Secured Creditor.
In addition. Plan Proponent shall provide_a cash contribution (the “Cash Contribution”) in_an
amount of $75,000.00 simultaneously with the closing of the Sale. To the extent not satisfied
from the proceeds of the Sale, the Cash Contribution shall be utilized to pay all Allowed Claims,
including Administrative Claims _and Professional Fees, in full, with payments to unsecured

 

? Upon information and belief, the Property consists of a four story walk up mixed use building.

3 As set forth in more detail below, this proceeding has been consolidated for procedural purposes with three other
Chapter 11 proceedings. The Plan Proponent is filing substantially identical disclosure statements and Chapter 11
Plans in two of those Chapter 11 proceedings (which involve two separate parcels of real property) which are also
being sold pursuant to their respective Plans. Secured Creditor's Claim is based upon a Mortgage which encumbers

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creditors receiving post-petition interest 4.00% per annum from the Petition Date and Secured
Creditors receiving interest as guided by agreement or by statute. The Plan Preponentorits

 

The table below provides a summary of the classification and treatment of Claims and
Interests under the Plan. The figures set forth in the table below represents the Plan Proponent’s
best estimate of the total amount of Claims andnterests-filed or scheduled in this Case. These
estimates have been developed by the Plan-Proponent based on its own research, decuments
provided _by—counsel _to—the i ; : i
RegisterCourt’s Claim register, and certain other documents of public record. Although the-Plan
Proponent believes that the amounts of the Claims set forth below are substantially correct, there
can be no assurance that the Claims and Interests will be allowed by the Bankruptcy Court in the
ameountsamount and/or at the priority set forth below:

 

 

 

 

 

Clas Estimated Amount of Estimated % Distribution
Treatment of | Allowed Claims — or on Claims/Interest”
Claim/Interest Claim/Interest| _ Interests”
Bankruptcy Fees NA $34,650.00 100%

 

 

 

 

 

 

 

 

 

 

deficiency claims) shall constitute unsecured claims, which shall be in Class 4.

 

 

 

° The estimated distribution percentage to the Holder of the Class 2 Claim is listed as unknown because the funds to

 

 

be distributed to these classes depend on the net proceeds from the Sale.

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Priority Tax Claims N/A $0.007 100%
Secured Creditor’s Secured Impaired $6,904,196.96°$5,987,415.33 Unknown
Claim
NY Claims Unimpaired $29,630.33°21,694.12 100%
General Unsecured Claims Unimpaired $3,292.93"100.00 100%
Equity Interests Impaired $0.00 Unknown

 

In furtherance of the Plan, the Secured-CreditorPlan Proponent has agreed to provide
Cash necessary to fund distributions under the Plan as follows: (1) payment to governmental
units in the full amount of their Allowed Secured Claims for real estate taxes and water and
sewer use charges; (2) payment in full to amounts due to and claims of (a) the Office of the
United States Trustee (b) Holders of Priority Tax Claims (c) Holders of Priority Claims (d)
Allowed Administrative Creditors; and (e) Holders of Unsecured Claims.

 

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CONFIRMATION OF THE PLAN

Pursuant to § 1128 of the Bankruptcy Code, the Bankruptcy Court has scheduled a
combined hearing to consider final approval of this Disclosure Statement and Confirmation of
the Plan, on —;May_ 29, 2020 at 10:30 a.m., Eastern

Standard Time, in the United States Bankruptcy Court for the Eastern District of New
York, 271-C Cadman Plaza East, Brooklyn, NY 11201-1800, Courtroom 3585. he

 

 

 

 

 

 

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Statement or anfirmation_oaf the Plan he filed and cerved ener heafore

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At the Confirmation Hearing; the Bankruptcy Court will determine whether the
requirements of §Section 11292} of the Bankruptcy Code have been satisfied, in which event
the Bankruptcy Court will enter an order confirming the Plan. The Plan Proponent intends to
seek Confirmation of the Plan at the Confirmation Hearing. The Plan Proponent believes that the
Plan satisfies all applicable requirements of §Section 1129(a) of the Bankruptcy Code.
Confirmation makes the Plan binding upon the Debtor, its Equity Interest Helders;Holder(s), all
Creditors, and other parties_in interest regardless of whether they have objected to the Plan.
Since no classes of claims are impaired under the Plan;_(other than the Secured Creditor,
which consents to the Plan), all classes of claims are deemed to have accepted the Plan.

 

 

As of the Effective Date, all holders of Claims or Interests will be precluded from
asserting any Claim against the Plan Proponent, the-Debtor; or the Debtor’s assets or Pproperty
or other interests in the Debtor based on any transaction or other activity of any kind that
occurred before the Confirmation Date except as otherwise provided in the Plan.

No VOTING — SUMMARY

THE PLAN PROVIDES FOR PAYMENT TO EACH CLASS OF CREDITORS
HOLDING ALLOWED CLAIMS IN FULL. THERE ARE NO CREDITORS
HOLDING CLAIMS THARE ARE IMPAIRED, OR THAT ARE ENTITLED TO
VOTE TO ACCEPT OR REJECT THE PLAN, OTHER THAN THE PLAN
PROPONENT WHICH HAS WAIVED THIS RIGHT.

THIS DISCLOSURE STATEMENT HAS BEEN PREPARED BY THE PLAN
PROPONENT. THE STATEMENTS AND OPINIONS SET FORTH HEREIN ARE
THOSE OF THE PLAN PROPONENT, AND NO OTHER PARTY HAS ANY
RESPONSIBILITY WITH RESPECT THERETO.

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THE PLAN HAS NOT BEEN APPROVED OR DISAPPROVED BY ANY
BANKRUPTCY COURT, THE SECURITIES AND EXCHANGE COMMISSION OR
ANY STATE SECURITIES COMMISSION NOR HAS THE SECURITIES AND
EXCHANGE COMMISSION OR ANY STATE SECURITIES COMMISSION
PASSED UPON THE FAIRNESS OR MERITS OF THE PLAN OR UPON THE
ACCURACY OR ADEQUACY OF THE INFORMATION CONTAINED IN THIS
DISCLOSURE STATEMENT. ANY REPRESENTATION TO THE CONTRARY IS
UNLAWFUL,

NOTICE TO HOLDERS OF CLAIMS AND INTERESTS

This Disclosure Statement is being furnished by the Plan Proponent to the Debtor’s
known creditors pursuant to § 1125(b) of the Bankruptcy Code. The Plan has been filed with
the Bankruptcy Court and is incorporated herein by reference. Parties in interest may view
the Plan on the internet at http://www.nyeb.uscourts.gov. |

The purpose of this Disclosure Statement is to enable you, as a Creditor to make an
informed decision in exercising your right to consider whether to object to the Plan.

The historical information concerning the Debtor has been prepared using certain
filings made with the Bankruptcy Court. The estimates of Claims and Interests set forth
herein may vary from the final amounts of Claims or Interests allowed by the Bankruptcy
Court. However, the Plan provides for the allowance of the Secured Creditor’s Secured
Claim ($5,987,415.33) in full as secured by the Property.

Notwithstanding any provision of the Plan to the contrary, definitions and
descriptions contained herein respecting pre-Petition documents, agreements, or claims are
provided solely for the purpose of identification and classification thereof and do not
constitute an admission by the Plan Proponent of the existence, validity, allowance, or
amount of any such claim, document or agreement. The Plan Proponent expressly reserves
the right to challenge the existence, validity, allowance, or amount of any such claim,
document or agreement.

This Disclosure Statement contains a summary of certain provisions of the Plan and
the transactions contemplated thereunder, as well as descriptions of certain other related
documents. While the Plan Proponent believes that these summaries are fair and accurate,
such summaries are qualified to the extent that they do not set forth the entire text of such
documents. Reference is made to the Plan and the documents referred to herein and therein
for a complete statement of the terms and provisions thereof. In the event of any
inconsistency between the terms of the Plan and this Disclosure Statement, the terms of the

 

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A password is necessary for access to view documents on the Internet.

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Plan shall be controlling. {n reviewing the Plan and this Disclosure Statement, the reader
should give special attention to “RISK FACTORS.” No statements or information
concerning the Debtor or its assets, results of business operations or financial condition are
authorized by the Plan Proponent, other than as set forth in this Disclosure Statement, its
exhibit(s) and the Plan.

The statements contained in this Disclosure Statement are made as of the date hereof
unless another time is specified herein. The delivery of this Disclosure Statement shall not
create, under any circumstances, an implication that there has been no change in the facts set
forth herein since the date hereof.

This Disclosure Statement is intended for the sole use of Creditors and Interest
Holders to be informed about the Plan. Each holder of a Claim or Interest should review this
Disclosure Statement, its exhibit(s) and the Plan. Holders of Claims or Interests are urged to
consult with their own legal and financial advisors.

Solicitations of votes to accept or reject the Plan will not be made by the Plan
Proponent in accordance with this Disclosure Statement and § 1125 of the Bankruptcy Code
as pursuant to § 1126(f) of the Bankruptcy Code, all classes of claims are conclusively
presumed to have accepted the Plan. No Person has been authorized to use or promulgate
any information concerning the Debtor or its business or the Plan, other than the information
contained in this Disclosure Statement and the exhibits hereto. You should not rely on any
information relating to the Debtor or its business or the Plan other than that contained in this
Disclosure Statement and the exhibits hereto.

PLAN PROPONENT’S RECOMMENDATION

{n the Plan Proponent’s opinion, the treatment of Creditors under the Plan provides a greater
recovery than is likely to be achieved under any other alternatives, including liquidation
under Chapter 7. See “ALTERNATIVES TO THE PLAN.” Since the Plan provides for full
payment plus interest of all Allowed Claimholders, § 1129(a)(7) of the Bankruptcy Code has
been satisfied as creditors are not entitled to be paid more than one hundred (100%) percent
plus interest on account of their claims.

BACKGROUND
THE DEBTOR

The Debtor’s business consists of the ownership and operation of the Property, and the
Debtor is a New York Domestic Limited Liability Company. As explained more fully below,
the Property generates substantially all of the Debtor’s income and on which Property, no
substantial business is being conducted by the Debtor, other than the business of operating
the Property and activities incidental thereto. The Plan Proponent makes no representations as

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to whether any residential units at the Property are subject to rent regulation such as the New
York City Rent Stabilization Code. Upon information and belief, the Debtor’s sole source of
income is from rents generated by the Property. Upon information and belief, the Debtor’s
members managed the Property. The Debtor’s Statement of Financial Affairs [docket item 20]
discloses, among other things, that the Debtor’s managing member is Chu H. Kwon (“Kwon”),
who owns eighty-six percent (86%) of the Debtor.

THE SECURED CREDITOR & THE LOAN

On or about October 11, 2018, Debtor, together with 5505 Associates LLC ("5505
LLC"), and 5507 Associates LLC ("5507 LLC")”, as borrowers, entered into that certain Note
Consolidation and Modification Agreement with Emerald Creek Capital 3, LLC ("Emerald"), as
lender, in the original principal sum of $4,900,000.00 (the “Note”).

To secure repayment of the indebtedness evidenced by the Note, on or about October 11,
2018, Debtor, 5505 LLC and 5507 LLC, as mortgagors, executed and delivered to Emerald, that
certain Mortgage Consolidation and Modification Agreement (the “Mortgage”, and together with
the Note and all other documents evidencing the Loan, the “Loan Documents”), which
encumbered the Property in the original principal sum of $4,900,000.00. The duly executed
Mortgage was recorded with the Office of the City Register of the City of New York (the “City
Register”) on October 24, 2018 under CRFN 2018000355037. The Mortgage also encumbers
the real property located at 5505 5 Avenue ("5505 5" Ave.") which will be sold pursuant to the
Chapter 11 Plan in In re: 5505 Associates LLC and the real property located at 5507 5" Avenue
("5507 5" Ave;");.") (collectively, the Property, 5505 5 Ave. and 5507 5" Ave. are the
"Properties"), which will be sold pursuant to the Chapter 11 Plan in In re: 5507 Associates LLC.

On or about May 29, 2019, the Note, Mortgage and all other documents associated with
the Loan were assigned from Emerald to the Secured Creditor pursuant to an Assignment of

Mortgage (the “Assignment”).

The Debtor defaulted under the terms of the Note and Mortgage by, failing to tender the
monthly payment as required under the terms of the Note and Mortgage on or about April 1,
2019 and all subsequent payments thereafter (the “Default”).

THE PROPERTY

Upon information and belief, the Property consists of a four-story, walk-up building
containing six residential apartment units and two commercial retail units.

 

2 §505 LLC and 55057 LLC are debtors under separate Chapter 11 Bankruptcy proceedings which have been
consolidated with the instant proceeding for joint administration.

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As a direct result of the Debtor’s failure and/or inability to exercise control over the
Property, HPD has assessed an extensive amount of Housing Maintenance Code violations
against the Property. Thus, it would appear that conditions at the Property are less than optimal.

In point of fact, a website maintained by HPD reveals the existence of not less than fifty-
six (56) open violations (“HPD Violations”) against the Property, the majority have been
assessed within the last four years.

Of the 56 open violations, 37 are designated as class “B”, "Hazardous" and 3 are
designated as class "C", the most severe category of violations, deemed immediately hazardous
and required by the Housing Maintenance Code to be corrected within 24 hours.

As a result of the Debtor’s Default and failure to cure same, the Secured Creditor sought
to exercise its right to foreclose on the pledge of membership interests given by the Debtor’s
principal, Chu K. Kwon, via that certain Pledge and Security Agreement and dated as of October
11, 2018, which was duly executed and delivered to Emerald (at the time the Loan was
originated, along with all other Loan Documents), by conducting a commercially reasonable
public sale of those membership interests on July 15, 2019 (the “Interests Sale”).

The Plan proposes to sell the Property through an Auction after being marketed by a
broker. A copy of the Bidding Procedures is annexed hereto as Exhibit “A”.

THE DEBTOR’S BANKRUPTCY FILING

To thwart the Interests Sale, on July 11, 2019 (the “Petition Date”), the Debtor filed its
instant petition (the “Petition”) for Chapter 11 bankruptcy relief before this Court under Case
No. 1-19-44263-ess.

On September 4, 2019 the Debtor, through its principal, appeared with counsel for the
Meeting of Creditors pursuant to Bankruptcy Code §341(a) ("341 Meeting"). At the 341

Meeting, Debtor provided copies of appraisals for the Properties (defined below). Pursuant to the
appraisal provided, the Property had a fair market value of $2,200,000.00."°

SIGNIFICANT EVENTS IN THIS CHAPTER 11 CASE

THE PETITION AND SCHEDULES

On the Petition Date, the Debtor filed a skeletal petition. All outstanding schedules were
filed by the Debtor by July 31, 2019. The Debtor’s Statement of Financial Affairs indicates that

 

3 5505 5" Avenue and 5507 5” Avenueas—defined—below) had fair market values of $2,300,000.00 and
$2,400,000.00, respectively, pursuant to the appraisals provided by Debtor.

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Kwon is the Debtor’s managing member.

In addition, in its Petition and Schedules, the Debtor identifies the Secured Creditor as
holding a first mortgage on the Property. The Debtor also identifies SN Funding LLC as holding
an unliquidated, disputed claim secured by a purported mortgage on the Property, however, this
mortgage is not recorded and SN Funding LLC has not filed a proof of claim prior to the Bar
Date. As such, any purported claim of SN Funding LLC is not being treated as an Allowed
Claim pursuant to this Plan, and is believed to be the claim of an insider, not entitled to payment.

In addition, the Debtor identifies the Internal Revenue Service (“IRS”), New York City
Department of Finance (“NYCDOF”) and NYS Department of Tax & Finance as holding an
unsecured priority claims in unknown amounts.

In addition to the Secured Creditor, the New York City Water Board, IRS, New York
City Office of Administrative Trials and Hearings and NYCDOF have all filed proofs of claim.

As of the date hereof, the Secured Creditor has reported that it has not received a single
payment from the Debtor since the Petition Date. In addition, and based in part on the Debtor’s
complete failure to file any monthly operating reports, it is unclear whether the Debtor has made
any post-petition payments for Property insurance. Although the Debtor did make a property tax
payment on November 18, 2019 for real estate taxes which came due on July 1, 2019, that
amount was insufficient to cover all Property taxes that came due on July 1, 2019, as reflected by
the outstanding property tax balance specified throughout this Disclosure Statement.

OPERATING REPORTS

Notwithstanding the requirements of the Office of the United States Trustee for the
Eastern District of New York, the Debtor has failed to file a single Monthly Operating Report
with this Court since the Petition Date.

BAR DATE

In accordance with the requirements of § 521 of the Bankruptcy Code and Bankruptcy
Rule 1007, the Debtor filed its Schedules of assets and liabilities, including schedules of all of its
known creditors and the amounts and priorities of the Claims the Debtor believes are owed to
such creditors. On September 5, 2019, the Bankruptcy Court entered an Order (the “Bar Date
Order”) [docket item 26] fixing October 18, 2019 as the last date for filing (non-governmental)
Proofs of Claim (the "Bar Date”), with January 8, 2020 for all governmental claims. The Plan
Proponent will reserve sufficient Cash as necessary to satisfy all allowed Claims, timely filed by
governmental units filed in the Court’s Claims Register by or before January 8, 2020.

If neither the Plan Proponent nor the Debtor file an objection to a properly filed proof of
claim on or before thirty (30) days from the Effective Date (or as extended by the court) then

such Claim will be deemed Allowed and will be entitled to the full Distribution under the Plan
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on account of its Allowed Claim. At this time, the Plan Proponent does not intend on objecting
to any timely filed proof of claim.

THE EXPIRATION OF THE EXCLUSIVE PERIOD

The Debtor’s exclusive right to file a plan of reorganization in this Case expired on
November 8, 2019.

JOINT ADMINISTRATION

On October 25, 2019, the Court entered an Order [docket item 29], pursuant to
§342(c)(1) of the Bankruptcy Code and Bankruptcy Rule 1015, directing the procedural
consolidation and joint administration of this proceeding with the following three other Chapter
11 proceedings before this Court: In re: Chu H. Kwon, Case No.: 19-44290 (ESS); In re: 5505
Associates LLC, Case No.: 19-44264 (ESS}:)_('5505 Bankruptcy") and In re: 5507 Associates

LLC, Case No.: 19-44265 (ESS}-)_("5507 Bankruptcy") (collectively, this proceeding, the 5505

Bankruptcy _and 5507 Bankruptcy are the "Bankruptcy Proceedings"). The cases are being
jointly administered under Case No, 19-44290 (ESS).

The Plan Proponent intends on filing a disclosure statement and Chapter 11 Plan in In re:
5505 Associates LLC, and In re: 5507 Associates LLC cases, substantially similar to the
Disclosure Statement and Chapter 11 Plan filed herein.

 

SUMMARY OF THE PLAN

The following summary of the terms of the Plan is qualified in its entirety by
reference to the provisions of the Plan, a copy of which accompanies this Disclosure
Statement and which is incorporated herein by reference.

FHE PROPOSED SALE
SUMMARY OF THE PLAN

The Plan provides thatfor the reorganization of the Debtor by liquidating the Property
through a public Sale. The Sale shall be-seldin-a-private-sale tothe Plan Preponenttake_ place
approximately thirty (30) days after Confirmation, or #ts-designated-nominee-in_satisfactionof
the Plan Proponents Secured Claim"_phis an-additionalas soon thereafter as practicable.

 

 

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In addition to the Proceeds from the Sale, the Cash Contribution bythe-Plan Preponent
Ad ie he-appreva he Bankruptey t-which-shall be inchidednused

   

Sale Proceeds are

insufficient) to satisfy certain allowed claims of creditors of the Debtor’s estate as they pertain to
the Loan and obligations of the Debtor whichfall upon the Secured Creditor in relationtothe

Preperty-including allowed administrative claims and tax claims which may have been accruing
since the commencement of this case.

 

Proceeds generated from the Sale along with athe Cash Contribution will be
utilized by the Plan Proponent to fund Distributions under the Plan as necessary to satisfy one-
hundred (100%) percent of all Allowed Claims of creditors of the Debtor in full with appropriate
interest.

 

Through the Sale, the Plan Propenent,or its nomineeSuccessful Bidder, shall take title to

the respective Property free and clear of all liens, claims and encumbrances’* pursuant to §§
363(f) and 1123(a)(5) of the Bankruptcy Code (subject only to the existing Mortgage and
residential tenancies evidenced by a valid written lease). In addition, the Plan Proponent shall
utilize the Cash Contribution to pay Allowed Claims.

Upon closing of the Sale, promptly after entry of the Confirmation Order, the Plan
Propenent-or its nomineeSuccessful Bidder, shall take title to the respective Property free and
clear of all liens, claims and encumbrances. —Fhe-Plan—Prepenent’s—In_the event that the
Proponent so elects to participate in the Auction, its authority to purchase the Property by
bidding in-partial- of the amount of its Secured Claim (which _is subject to approval of this Court;

whieh), shall be deemed granted upon entry of the Confirmation Order.

The closing of the Sale will take place promptly after entry of the Confirmation Order. In
addition, upon completion of the Sale, Jaspan Schlesinger LLP, the Plan-Proponent’s Disbursing
Agent, shall be authorized to execute any and all documents necessary to effectuate the
conveyance of the Property to the Plan PrepenentSuccessful Bidder in accordance with the terms
of the Plan, including without limitation a Bargain and Sale Deed with Covenants, a Bill of Sale

 

 

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and all required transfer tax returns and ACRIS documents. Upon the Sale, the Debtor (to the
extent the Debtor is in possession of same) shall turn over all leases and security deposits to the
Plan Proponent or its designee for the Property. Furthermore, on the Effective Date, the Debtor
will provide the Plan—Proponent, or its nominee, an assignment and assumption of all
residential and/or commercial leases at the Property and the right to collect any and all rent
arrears from such tenants.

After a closing on the Sale, the Disbursing Agent shall distribute funds to Creditors
generated from the Sales of the Property.'®

From the Proceeds of the Sale of the Property (as well _as the Cash Contribution, to the

extent necessary), one-hundred (100%) percent of al] Allowed Claims of creditors of the Debtor
will be paid in full with appropriate interest.

Classification of Claims and Interests

Classification of claims is governed, in part, by §§ 1122 and 1123(a) of the Bankruptcy
Code. 11 U.S.C. § 1123(a) requires that a plan designate classes of claims, requires that the plan
specify the treatment of any impaired class of claims, and requires that the plan provide the same
treatment for each claim of a particular class, unless the holder of a claim receiving less
favorable treatment consents to such treatment. 11 U.S.C. § 1123(a)(1), (3) and (4). 11 U.S.C. §
1122(a) of the Bankruptcy Code provides, subject to an exception for administrative
convenience, that “a plan may place a claim or interest in a particular class only if such claim or
interest is substantially similar to the other claims or interests of such class.”

Article 3 of the Plan classifies the various Claims against and Interests in the Debtor into
four (4) classes of Claims and one (1) class of Interests:

Class 1 - Priority Tax Claims

Class 2 - Secured Creditor’s Secured Claim
Class 3 - NY Claims

Class 4 - General Unsecured Claims

Class 5 - Equity Interests

Since no classes of eClaims are impaired under the Plan, holders of all classes of claims
and claimholders are conclusively deemed to have accepted the Plan pursuant to $Section
1126(f) of the Bankruptcy Code and no voting or balloting will be conducted under the Plan. As
set forth in Article 2 of the Plan, pursuant to $Section 1123(a)(1) of the Bankruptcy Code, certain
Administrative Claims against the Debtor have not been classified. See “SUMMARY OF THE
PLAN -- Treatment of Non-Classified Claims.”

 

 

'6 All three of the Properties will be sold by public auctions pursuant to the Plans in the Bankruptcy Proceedings.

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Class 1 — Priority Tax Claims. Class 1 consists of all Allowed Claims, other
than Administrative Claims or Bankruptcy Fees, of New York State for unpaid and outstanding
income and/or corporate taxes allegedly owed by the Debtor. Certain Claims for taxes and the
payment of expenses incurred by the Debtor subsequent to the Petition Date may be entitled to
priority treatment under § 507 of the Bankruptcy Code, and are treated elsewhere as non-
classified Claims. See “SUMMARY OF THE PLAN -- Treatment of Non-Classified Claims.”
As of the date hereof, there are no known Priority Tax Claims.

Class 2 — Secured Creditor’s Secured Claim. Class 2 consists of the Secured
Creditor’s Allowed Secured Claim against the Property, which as of the Petition Date existed in
the amount of $5,987,415.33-and33and is estimated to have accrued to be an amount in excess of
$6,904, 196.96 as of the anticipated Effective Date.

Class 3 — NY Claims. Class 3 consists of the secured claims of: New York City
and/or New York State against the Property. Class 3 consists of (a) the Claims of the City of
New York Department of Finance for any and all outstanding property taxes and water and
sewer charges assessed against the Property, and (b) any Claims of New York Department of
Buildings and/or New York Department of Housing Preservation & Development as payable to
City of New York Department of Finance for environmental control board violations, as may be
applicable to the Property, and any Allowed Claims which may be filed by New York State. As
of the date hereof, a secured claim has been filed by the New York City Water Board in the
amount of $7,654.33, a secured claim has been filed by the New York City Office of
Administrative Trials and Hearings in the amount of $14,039.79, and there are approximately
$7,100.00 in real property taxes due to the New York City Department of Finance which are
secured by the Property.

Class 4 — General Unsecured Claims. Class 4 consists of General Unsecured
Claims. This includes a claim filed by the Internal Revenue Service in the amount of $3,000.00,
and a claim for Con Edison identified in the Debtor's petition in the amount of approximately
$100.00.

Class 5 — Equity Interests. Class 5 consists of all Equity Interests in the Debtor.
TREATMENT OF CLAIMS AND INTERESTS CLASSIFIED UNDER THE PLAN

Articles 4 and 5 of the Plan provide for the treatment of Claims classified in Article 3
of the Plan as follows:

Class 1 — Priority Tax Claims. As of the date hereof, there are no known,
Priority Tax Claims.

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Class 2 — Secured Creditor’s Secured Claim. 4n—fiillsatisfaction,+release
| disel £ the S | Creditor’s-S 1 Claims" the S | Credi hall obta;

mH Co yy Ky vf Q
G ry

   

rnd pavinw inte the Alttoush | the exact sale price of the = Proverty is currently unknown, i it_is

estimated that the proceeds of the Sale will be insufficient_to provide payment_in full of the
Secured _Creditor's Secured Claim and the other payments the Plan requires to be made (Ze.,
payment in full of all Allowed Claim, Bankruptcy Fees and Allowed Administrative Claims). In
such circumstances, the Secured Creditor's Secured Claim will be paid up to the full amount of
the Secured Creditor Claim (Class 2) attributable to the Mortgage, and the Secured Creditor will
use the Cash Contribution to pay the Allowed Claims. Gash-Centributier

 

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The Secured Creditor shall only be obligated t to pay / the Cash Contribution at the closing of
the Sale of the Property. At the closing, the Property shall be conveyed to the Successful
Bidder. In the event that the Successful Bidder is the Secured Creditor, then the Secured
Creditor or its nominee_shall take title to the Property, subject_only to the Secured Creditor’s
existing Mortgage of record if the Secured Creditor so elects. The Class 2 claimholder is
impaired to the extent that it is not receiving the full amount of its claim and waives any right
to a deficiency against the Debtor. The Class 2 claimholder supports the Plan, as is a Plan
Proponent.

Class 3 - NY Claims. Consists of (a) the Secured Claim of the New York City
Water Board for outstanding water charges in connection with the Property in the amount of
$7,654.33, (b) the Secured Claim of the NYC Office of Administrative Trials and Hearings in the
amount of $14,039.79; and (c) the real property taxes due to the New York City Department of
Finance in the approximate amount of $7,100.00"*. Holders of Class 3 claims shall be paid in
full with interest, and are deemed unimpaired and not entitled to vote.

Class 4 — General Unsecured Claims. Subject to the provisions of Article 7
of the Plan with respect to Disputed Claims, in full satisfaction, release and discharge of all
Allowed Unsecured Claims (including deficiency claims), on the Effective Date, each holder
of an Allowed Unsecured Claim shall receive a distribution in an amount equivalent to one-
hundred percent (100%) percent of their Allowed Unsecured Claims from the Disbursing
Agent plus post-petition interest on account of their Allowed Claims at a rate of 4.00 % per
annum from the Petition Date. The Internal Revenue Service has filed a proof of claim in the

 

 

due with respect to the Properties pursuant to 11 U.S.C. §507.

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amount of $3,000.00, and the Debtor has identified Con Edison as an unsecured creditor in
the amount of $100.00. Holders of Class 4 Allowed Claims are unimpaired and are not
entitled to vote for or against the Plan.

Class 5 — Equity Interests. Equity interests shall be terminated on the Effective Date
and shall not receive a distribution under the Plan on account of their interests. Equity
interests shall remain responsible for winding down the affairs of the Debtor subsequent to
the Effective Date. The Debtor’s schedules do not indicate, nor is the Secured Creditor
aware, of the Debtor retaining anything other than the Property that would need to be
administered by the reorganized Debtor. While Equity interest may be impaired, they are not
entitled to vote.

TREATMENT OF NON-CLASSIFIED CLAIMS

Pursuant to § 1123(a)(1) of the Bankruptcy Code, the Plan does not classify
Administrative Claims entitled to priority treatment under § 507(a)(2) of the Bankruptcy Code
or Claims of Governmental Units entitled to priority pursuant to § 507(a)(8) of the
Bankruptcy Code. Article 2 of the Plan provides for the manner of treatment of such non-
classified Claims.

Administrative Claims. Administrative Claims are the costs and expenses of
administration of this Case, allowable under § 503(b) of the Bankruptcy Code, other than
Bankruptcy Fees. Administrative Claims include Claims for the provision of goods and service
to the Debtor after the Petition Date, the liabilities incurred in the ordinary course of the
Debtor’s business (other than claims of governmental units for taxes or interest or penalties
related to such taxes) after the Petition Date, Claims of professionals, such as attorneys, brokers,
appraisers, and accountants, retained pursuant to an order of the Bankruptcy Court, for
compensation and reimbursement of expenses under $Section 330 of the Bankruptcy Code, and
tax claims for the period from the Petition Date to the Effective Date of the Plan.

 

Each holder of an Allowed Administrative Claim shall receive cash in the full amount of
its Administrative Claim. It is estimated that the Administrative Claims total not more than
$7,500.00 which consists of the Debtor’s counsel’s professional fees in an amount of not more
than $7,500.00.

Each Administrative Claim, shall be paid by the Disbursing Agent in Cash in full on
(i) the later of the Effective Date, the date payment of such Claim is due under the terms
thereof or applicable law, or three business days after such Claim becomes an Administrative
Claim, or (ii) as may be otherwise mutually agreed in writing between the Disbursing Agent
and the holder of such Claim, provided, however, that any Allowed Administrative Claim
incurred by the Debtor in the ordinary course of its business shall be paid in full in

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accordance with the terms and conditions of the particular transaction giving rise to such
Allowed Administrative Claim and any agreements relating thereto.

Article 2 of the Plan sets a final date for the filing of Administrative Claims against the
Debtor. The Administrative Bar Date is the first Business Day that is fifteen-4Sfourteen (14)

days after entry of the Confirmation Order, including with respect to Professional Fees.

Bankruptcy Fees. All fees and charges assessed against the Debtor-ofits-EstateDebtors
or their Estates under $Section 1930 of title 28 of the United States Code and any applicable
interest thereon shall be paid by the Disbursing Agent in Cash in full as required by statute, and
until the closing, conversion or dismissal of this case, whichever is earlier. The Disbursing Agent
shall continue to be responsible for the payment of any such fees and charges. It is estimated
that Bankruptcy Fees and charges will be approximately $34,650.00, or such greater sum as
necessary to satisfy the Office of the United States Trustee.

 

 

Professional Fees. H-U-S-G-8Section 330 of the Bankruptcy Code sets the standard for
the determination by the Bankruptcy Court of the appropriateness of fees to be awarded to
Professionals retained by the Debtor in a case under the Bankruptcy Code. In general,
bankruptcy legal services are entitled to command the same competency of counsel as other
cases. “In that light, the policy of this section is to compensate attorneys and other professionals
serving in a case under title 11 at the same rate as the attorney or other professional would be
compensated for performing comparable service other than in a case under title 11.” 124 Cong.
Rec. H11091 (Daily ed. Sept. 28, 1978).

Reasonable compensation due to the Debtor’s retained professionals pursuant to §
330 of the Bankruptcy Code, as determined by the Bankruptcy Court but in an amount not to
exceed $7,500.00, shall be payable in full and in Cash on the Effective Date unless otherwise
agreed to in writing between the holder of such claim and the Debtor and approved by the
Bankruptcy Court.

DISPUTED CLAIMS

Article 7 of the Plan contains a mechanism for resolving disputes concerning the amount
of certain Claims asserted against the Debtor by any Entity. To the extent that any Claim is not

Allowed by the Plan, the Plan Proponent reserves the right to object to any such Claim.

Time to Object. Unless otherwise ordered by the Bankruptcy Court, objections to the
allowance of any Claim must be filed no later than forty-five (45) days after the Effective
Date. Until the earlier of (i) the filing of an objection to a Proof of Claim or (ii) the last date
to file objections to Claims as established by the Plan or by Final Order, Claims shall be
deemed to be Disputed in their entirety if, (x) the amount specified in a Proof of Claim
exceeds the amount of any corresponding Claim listed in the Schedules; (y) any
corresponding Claim listed in the Schedules has been scheduled as disputed, contingent or
unliquidated; or (z) no corresponding Claim has been listed in the Schedules.
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DISTRIBUTIONS UNDER THE PLAN

Article 7 contains provisions governing the making of Distributions on account of Claims
and Interests. In general, any payments, distributions or other performance to be made
pursuant to the Plan on account of any Allowed Claim or Allowed Interest shall be deemed
to be timely made if made on or within fifteen (15) days following the later of (i) the
Effective Date, or (ii) the expiration of any applicable objection deadline with respect to such
Claim or Interest, or (iii) such other times provided in the Plan. All Cash payments to be made
pursuant to the Plan shall be made by check drawn on a domestic bank.

Disbursing Agent. Jaspan Schlesinger LLP shall be the Disbursing Agent and
shall make Distributions under the Plan for all claims against the Debtor’s Estate. The
Disbursing Agent shall not be compensated for services rendered under the Plan and shall not
be required to secure a bond. The Disbursing Agent shall not incur any liability, other than for
willful misconduct or criminal conduct, which liability shall be expressly limited to the period
commencing from the date of the Disbursing Agent’s receipt of the Cash Contribution and
ending on the date that all disbursements contemplated by the Plan have been distributed.

Distributions shall be made: (1) at the addresses set forth on the Proofs of Claim or Proofs of
Interests filed by such holders; (2) at the addresses set forth in any written notices of address
changes delivered to the Disbursing Agent after the date of any related Proof of Claim or
Proof of Interest; or (3) at the address reflected in the Schedules if no Proof of Claim or
Proof of Interest is filed and the Disbursing Agent has not received a written notice of a
change of address. If the Distribution to the holder of any Claim or Interest is returned to the
Disbursing Agent as undeliverable, no further Distribution shall be made to such holder unless
and until the Disbursing Agent is notified in writing of such holder’s then current address. If,
after all payments are made, there remains any Distribution that has been returned _as
undeliverable, then the funds in such Distribution shall be redistributed to the other creditors in
accordance with the Plan. The Disbursing Agent shall round each Distribution to each Creditor

to the nearest penny.

UNCLAIMED DISTRIBUTIONS

Any Cash or other property to be distributed under the Plan shall revert to the Disbursing
Agent and such creditor shall forfeit its right to receive any Distribution(s) under this Plan if such
Distribution is not claimed by the Entity entitled thereto before the later of (i) 90 days after the
Effective Date or (ii) 90 days after an Order allowing the Claim of that Entity becomes a Final
Order or are otherwise Allowed. Any such forfeited sums shall then be retained by the Plan
Proponent.

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DISTRIBUTIONS WITH RESPECT TO DISPUTED CLAIMS

During the pendency of any objection to any Claim, no Distribution under the Plan will
be made to the holder of such Claim. However, there will be set aside and reserved on behalf of
such disputed Claim such cash or property as the holder thereof would be entitled to receive in
the event such Claim was an Allowed Claim on the date of such Distribution. The Debtor may
seek an order of the Bankruptcy Court estimating or limiting the amount of Cash or property that
must be deposited in respect of any such Disputed Claims. Cash held in reserve for Disputed
Claims will be held in trust for the benefit of the holders of such Claims.

Within 4514 days after the entry of a Final Order resolving an objection to a Disputed
Claim, the Disbursing Agent shall distribute all Cash or other property, including any interest,
dividends or proceeds thereof, to which a holder is then entitled with respect to any formerly
Disputed Claim that has become an Allowed Claim. To the extent practicable, the Disbursing
Agent shall hold such cash in a segregated account in accordance with § 345 of the
Bankruptcy Code, and may invest any cash or other property segregated on account of a
Disputed Claim, Disputed Interest, undeliverable distribution, or any proceeds thereof;
however, the Disbursing Agent shall be under no obligation to so invest such Cash or
proceeds and shall have no liability to any party for any investment made or any omission to
invest such Cash, other property or proceeds.

SURRENDER OF INSTRUMENTS

No Creditor that holds a note or other instrument of the Debtor evidencing such
Creditor’s Claim may receive any distribution with respect to such Claim or Interest unless and
until the note or other instrument evidencing such Claim is surrendered pursuant to the
provisions of the Plan. In the event an instrument evidencing a claim has been lost, stolen or
mutilated, the Disbursing Agent may request reasonable affidavits and indemnification by a
financially responsible party before making any distribution(s) to such Creditor.

COMPLIANCE WITH TAX REQUIREMENTS
In connection with the Plan, the Debtor shall not be relieved of, and shall comply with all

withholding and reporting requirements imposed by federal, state and local taxing authorities,
and distributions under the Plan shall be subject to such withholding and reporting requirements.

EFFECTIVE DATE

 

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The Effective Date of the Plan is defined_as the date upon which the following
conditions have been met (unless waived by the Plan Proponent): the Confirmation Order in

form and substance satisfactory to the Plan Proponent in its sole discretion shall have been
entered: and all actions required to be taken to implement the Confirmation Order including

but not limited to the transfer of title to the Property at the Closing shall have occurred and
anv contribution necessary to fully fund the distributions provided for under this Plan shall

have been deposited with the Disbursing Agent.

TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

Effective-on_and-as—efOn the Effective Date, all Executory Contracts and Unexpired
Leases to which the Debtor is a party shall be deemed rejected in accordance with §365-efthe

       
        

arrears from-existing tenants-Section 365 of the Bankruptcy Code (other than residential leases,
which shall be assumed) unless the Executory Contract_or Lease is listed_as assumed_and
assigned to a Successful Bidder_on a notice to be filed with the Bankruptcy Court (the
“Assumption Notice”), with such notice being served by the Proponent on the counterparty to

each such Executory Contract or Unexpired Lease, no later than twenty one (21) days prior to the
Effective Date.

Rejection Claims. Allowed Claims arising from the rejection of any Executory Contract
or Unexpired Lease of the Debtor pursuant to the Plan shall be treated as Unsecured Claims. A
Proof of Claim with respect to any Unsecured Claim for damages arising from the rejection
of an Executory Contract or Unexpired Lease pursuant to the Plan must be filed with the
Bankruptcy Court and served so that it is received by the Disbursing Agent within 15 days
after the later of (i) the date of entry of a Final Order approving such rejection (unless such
Final Order expressly provides a Bar Date with respect to such Claim, in which event no
Proof of Claim with respect to such Claim shall be deemed timely unless it is filed with the
Bankruptcy Court and served in the manner provided in such Final Order), or (ii) the date the
Plan is Confirmed. Any such Claim not timely filed and served shall be forever barred from
assertion and may not be enforced against either the Debtor, the Plan Proponent—fer—ts

neminee);, the Disbursing Agent, or their successors or their respective Property.

TRANSFER OF “FHE-PROPERTY

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Except as otherwise provided in the Plan, on the Effective Date, all of the assets-andreal
Property of the Debtor's Estate shall vest in the Plan—PrepenentSuccessful Bidder, or its
nominee, free and clear of all Liens, Claims and encumbrances and the Debtor shall
cooperate with the execution of any and all documents needed to facilitate the transfer of the
Property. On the Effective Date, any and all Liens, Claims and encumbrances that have not
been expressly preserved under the Plan shall be deemed extinguished as of such date.
Furthermore, in the event that the Secured Creditor is the Successful Bidder, on the Effective
Date or as soon as practicable thereafter, all rent arrears, leases, insurance claims and
proceeds thereof to which the Debtor was entitled, shall be assigned by the Disbursing Agent
to the Plan Proponent and/or its nominee.

 

FUNDING

 

The Plan will be funded by moneys made available as a result of the Sale of the
Property, including the Cash Contribution on the Effective Date, or as soon as S practicable
thereafter. o a
fetews——The Secured Creditor will escrow with the Disbursing “Agent. the sum of
$74144275,000.00.

 

The Plan Proponent has been advised that Debtor’s counsel’s legal fees total
approximately $7,500,"° and the estimated fees due to the Office of the United States Trustee
upon a sale of the Property will total approximately $34,650.00-——,_and will be adjusted _as

appropriate.

In order to pay all estimated Administrative Claims and quarterly fees due to the
Office of the United States Trustee (estimated to be $34,650.00), NY Claims estimated as of
the Effective Date ($29,960.33), General Unsecured Claims estimated as of the Effective
Date ($3,292.93), and Administrative Claims in the amount of $7,500.00 in full, the Plan
Proponent is prepared to utilize the Cash Contribution from the Plan Proponent, to fund the Plan. The
total Cash required to pay holders of all Allowed Claims and Administrative Claims (even if
the claim objections are resolved i in favor of the claimants) is estimated to be no more than
$74,145.00. A pas-in

 

The Debtor shall take all necessary steps and perform all acts to consummate the
terms and conditions for the Plan. The Confirmation Order shall contain appropriate
provisions consistent with § 1142 of the Bankruptcy Code, directing the Debtor and any
other necessary party to execute or deliver or to join in the extension or delivery of any

 

'° Which amount represents one-third of the aggregate legal fees owed to Debtors’ counsels between the instant case
and two related cases.

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instrument required to affect the Plan or to perform any act necessary to consummate the
Plan.

Except as set forth elsewhere in the Plan, all payments required to be made under the
Plan shall be made by the Disbursing Agent for disbursement in accordance with the terms of
the Plan.

PRESERVATION OF RIGHTS OF ACTION

The Debtor shall retain, and in accordance with its determination of the best interest
of the estate, may enforce any claims, rights and causes of action (i) arising under §§ 544
through 550 of the Bankruptcy Code or (ii) belonging to the Debtor as of the Petition Date,
or the Estate, and arising under any provision of state or federal law, or any theory of
statutory or common law or equity.

PoST-CONFIRMATION OPERATING REPORTS AND UNITED STATES TRUSTEE’S FEES

The Debtor shall be responsible for the preparation and filing ef monthly operating

reperts-and-quarterly post-confirmation status reports which -pest-confirmation status reperts
shall be filed until the closing of with the Bankruptcy Court by not later than the Debtor's

 

caker Within 1-days of20" day after the conclusion of each calendar quarter. “After the
Effective Date, the Disbursing aAgent shall file a closing report detailing all disbursements

made at the closing on the Property. At}eoutstandingThe Debtor shall pay all quarterly fees
and any tequited under 28 U.S.C. S 1930 and appricable interest st due thereon payable tothe

 

 

 

9 Q y u untHunder 31
U. S.C. s 3717, “inti! the earlier “of ( a) conversion. or “dismissal 9 of these Chapter 11 Cases or
(b) entry of a final decree; ; i closing these

Chapter 11 Cases.

TRANSFER TAXES

Pursuant to $Section 1146(a) of the Bankruptcy Code, the initial issuance, transfer, or
exchange of any security and the making or delivery of any instrument of transfer in connection
with or in furtherance of the Plan (including any instrument executed in furtherance of the
transactions contemplated by the Plan-ineliding but net timited tothe sale-of the Property to
the-Plan-Prepenent) shall be exempt and shall not be subject to tax under any law imposing a
Transfer Tax, mortgage recording tax or similar tax as set forth in the Plan. In connection
therewith, the Plan_PreperentSuccessful Bidder shall have the protections afforded under the
“good faith” purchaser provisions of § 363(m) of the Bankruptcy Code and all stay provisions
under Bankruptcy Rule 6004(h) or elsewhere will be waived.

 

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REVOCATION OF THE PLAN

The Plan may be altered, amended, modified or withdrawn by the Plan Proponent at any
time before substantial consummation of the Plan, as provided in $$Sections 1101(a) and 1127
of the Bankruptcy Code and Bankruptcy Rule 3019. $ Section 1127 of the Bankruptcy Code
authorizes the proponent of a chapter 11 plan-ef+eerganization to modify such plan at any time
prior to confirmation of the plan so long as the plan, as modified, continues to meet certain
technical requirements of $$Sections 1122 and 1123 of the Bankruptcy Code with respect to the
classification of Claims and Interests and the contents of a plan. Prior to Confirmation, if a
Planthe Proponent files modifications to the Plan, pursuant to $Section 1127(a) “the plan as
modified becomes the plan.” No order of the Court is required to modify the Plan under the
terms of $Section 1127(a); however, the proponent of a modification to a plan must comply with
§$Section 1125 of the Bankruptcy Code with respect to the plan as modified.

 

 

 

 

If the Plan Proponent revokes or withdraws the Plan, or if no Confirmation Order is
entered, the Plan shall be null and void, and nothing contained in the Plan shall constitute a
waiver or release of any Claims by or against, or any Interest in the Debtor in any further
proceedings involving the Debtor.

RETENTION OF JURISDICTION

The Plan contains detailed provisions providing for the retention of jurisdiction by the
Bankruptcy Court over the Case for the purposes of, inter alia, determining all disputes relating
to Claims or Interests and other issues presented by or arising under the interpretation,
implementation or enforcement of the Plan.

RISK FACTORS

Plan payments are to be made from the—Sale—proceeds which—-will -come—primarly
fremof the Sale and the Cash Contribution —Fhere-canbe-ne—assurance that the sale of the

Prepertywilleeeur.

CONFIRMATION OF THE PLAN

All Distributions to holders of Allowed Claims are contingent on the Plan being
confirmed by this Court. Otherwise, the DebterProponent_and/or the Disbursing Agent is not
obligated to make the payments required hereunder.

CONFIRMATION HEARING

The Bankruptcy Code requires that the Bankruptcy Court, after notice, hold a hearing to
consider confirmation of the Plan. The Confirmation Hearing is scheduled to commence on
————;May_ 29, 2020 at —10:30 a.m. in the United States Bankruptcy Court; Eastern

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| District of New York, Conrad B. Duberstein U.S. Courthouse, 271-C Cadman Plaza East,
Brooklyn, NY 11201-1800, Courtroom 3585. The Confirmation Hearing may be adjourned from
time to time by the Bankruptcy Court without further notice except for an announcement made at
the Confirmation Hearing.

The Bankruptcy Court has directed that objections, if any, to confirmation of the Plan
be filed and served on or before ——, , 2020 at 45:00 p.m. Objections must be
served upon (i) ). Counsel to the Debtor: Charles E Simpson, Esq., Windels Marx Lane &
Mittendorf, 156 West 56th Street, New York, NY 10019; (di) Counsel to the Plan-Proponent;:
Jaspan Schlesinger LLP;., 300 Garden City Plaza, Fifth Floor, Garden City, New York, 115330 —
Attn: Frank G-Del!'AmereChristopher D. Palmieri, Esq., and_(iii) Fhethe Office of the United
States Trustee, Attn: Rachel-WelfReema Lateef, Esq., U.S. Federal Office Building, 201
Varick Street, Suite 1006, New York, New York 10014-9449 and be filed electronically in
accordance with the Court’s ECF procedures.

REQUIREMENTS FOR CONFIRMATION

At the Confirmation Hearing, the Bankruptcy Court will determine whether the
| requirements of $Section 1129 of the Bankruptcy Code have been satisfied, in which event the
Bankruptcy Court will enter an order confirming the Plan. These requirements include
determinations by the Bankruptcy Court that: (i) the Plan has classified Claims and Interests in a
permissible manner, (ii) the contents of the Plan comply with various technical requirements of
the Bankruptcy Code, (iii) the Plan Proponent has proposed the Plan in good faith, (iv) the Plan
Proponent has made disclosures concerning the Plan that are adequate and include information
concerning all payments made or promised in connection with the Plan and the Case, (v) the Plan
is in the “best interests” of all Creditors and Interest Holders; and (vi) the Plan is feasible. The
Plan Proponent believes that all of these conditions have been or will be met prior to the
Confirmation Hearing.

Best Interest Test. The so-called "best interest” test requires that each impaired Creditor
and impaired Interest Holder either (a) accepts the Plan or (b) receives or retains under the Plan
property of a value, as of the Effective Date of the Plan, that is not less than the value such entity

| would receive or retain if the-Debter-wasassets_of the Debtor’s_ estate were to be liquidated
under chapter 7 of the Bankruptcy Code.

To determine what the holders in each Class of Claims or Interest would receive if the

Debtor were liquidated under Chapter 7, the Bankruptcy Court must determine the dollar amount

| that would be generated from the liquidation of the Debtor*s! assets in a chapter 7 liquidation
case. The amount that would be available for satisfaction of Allowed Claims against and
Allowed Interests in the Debtor would consist of the proceeds resulting from the disposition of
the Debtor’s assets, augmented by the cash held by the Debtor. Such amount would be reduced
by the amount of any Claim or Claims secured by the Debtor’s assets, the costs and expenses of
the liquidation, and suchany additional Administrative Claims and Priority Claims that may

result from the termination-_of the Debtor? businessarise. Such value is then juxtaposed against

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the amount creditors are receiving under the Plan to determine if the value each impaired creditor
is receiving is the same or more than such creditor would receive from a Chapter 7 liquidation on
the Confirmation Date.

The costs of liquidation under Chapter 7 would become Administrative Claims with the
highest priority against the proceeds of liquidation. Such costs would include the fees payable to
a Chapter 7 trustee, as well as those which might be payable to attorneys, financial advisors,
appraisers, accountants and other professionals that such trustee may engage to assist in the
liquidation. In addition, Chapter 7 costs would include any liabilities incurred or assumed
pursuant to the transactions necessary to effectuate the liquidation. Moreover, claims entitled to
administrative priority may arise by reason of any breach or rejection of any executory contracts
entered into by the Debtor during the pendency of the Case in chapter 11.

After satisfying Administrative Claims arising in the course of the chapter 7 liquidation,
the proceeds of the liquidation would then be payable to satisfy any unpaid expenses incurred
during the time this Case was pending under chapter 11, including compensation for attorneys,
financial advisors, appraisers, accountants and other professionals retained by the Debtor.

Liquidation Analysis. The Plan Proponent has concluded that the Plan provides to each
Creditor and Interest Holder a recovery with a present value which equals the distribution that
such person would receive if the Debtor were to be liquidated under Chapter 7 of the Bankruptcy
Code. The Plan provides for the Debtor’s reorganization, the payment of all of the Debtor’s
outstanding secured indebtedness, and 100% plus interest to holders of all other Allowed
Claims. Since Creditors would not be entitled to receive more than 100% plus interest in a
Chapter 7 liquidation, § 1129(a)(7) of the Bankruptcy Code is satisfied. Annexed hereto as
Exhibit AB is the Plan Proponent's Liquidation Analysis.”

Feasibility. For the Plan to be confirmed, it must be demonstrated that consummation of
the Plan is not likely to be followed by the liquidation or the need for further financial
reorganization of the Debtor. Fhis-_Given that the Plan calls for the saleliquidation of all_of the

Debtor*s-Propertyteassets of the PlanPrepenent—FhusDebtor, the Plan meets the feasibility
requirements of the Bankruptcy Code—asteng—as—the-Plan Proponent—depesits_the—Cash
Contribution in-Eserew-_priorto-the Confirmation Hearing.

 

 

EFFECT OF CONFIRMATION

LIMITATION OF LIABILITY

 

*° The Liquidation Analysis uses the total amount of Plan Proponent's Secured Claim, the value of the Properties and
all claims in the Bankruptcies combined.

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44-45S.G-§Section 1125(e) of the Bankruptcy Code, commonly referred to as the
"safe harbor,” protects persons acting in good faith, from civil claims arising in connection
with solicitations of acceptances of chapter 11 plans-ef-reerganizatien or participating in
the offer, issuance, sale or purchase of a security under the Plan. Pursuant to §Section
1125(€), as set forth in Article 8 of the Plan, neither the Plan Proponent or #5 nominet; BOF

 

 

 

employees (acting in such eapacity), the Disbursing Agent, nor any professional person
employed by any of them shall have or incur any liability to any entity for any action taken

or omitted to be taken in connection with or related to the formulation, preparation,
dissemination, Confirmation or consummation of the Plan, the Disclosure Statement or any
other action taken or omitted to be taken in connection with the Plan except in the case of
fraud, gross negligence, willful misconduct, malpractice, breach of fiduciary duty, criminal
conduct, unauthorized use of confidential information that causes damages, or ultra vires
acts. Nothing contained herein shall limit the liability of the Debter’srespective
professionals pursuant to Rule 1.8(h)(1) of the New York State Rules of Professional
Conduct. From and after the Effective Date, a copy of the Confirmation Order and the
Plan shall constitute, and may be submitted as, a complete defense to any claim or liability
released to the extent provided by Artiele-8-efthe Plan.

RELEASE BY DEBTOR AND ITS INTEREST HOLDERS

The Debtor shall be deemed to have waived any and all claims, whether known or
unknown, contingent, unliquidated or unmatured, disputed and/or legal or equitable, in
existence on or before the Confirmation Order against the Plan Proponent and its officers,
directors, members, employees, partners, attorneys, or affiliates.

ALTERNATIVES TO THE PLAN

If the Plan is not confirmed by the Bankruptcy Court the alternatives may include (a)
liquidation of the Debtor under chapter 7 of the Bankruptcy Code or (b) the formulation,
promulgation and confirmation or an alternative plan of reorganization involving a sale to a
different purchaser; or (c) the dismissal of the Debtor’s case.

The Plan Proponent believes that the Plan provides a recovery to all Creditors and
Interest Holders equal to or greater than would be obtainable in chapter 7 liquidation or
foreclosure sale and believes that the Plan enables Creditors to realize the most value under
the circumstances.

The Plan Proponent reserves their right to file an amended plan and/or disclosure
statement.

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ALTERNATIVES TO THE PLAN

If the Plan is not confirmed by the Bankruptcy Court the alternatives may include (a)
liquidation of the Debtor under _chapter_7 of the Bankruptcy Code or (b) the dismissal of the

Debtor’s case.

The Plan Proponent believes that the Plan provides _a recovery to all Creditors and
Interest_Holders_ equal to or greater than would be obtainable in chapter 7 liquidation or
foreclosure sale and believes that the Plan enables Creditors to realize the most value under the
circumstances.

Plan Proponent reserves its right to file an amended plan and/or disclosure statement.

CERTAIN FEDERAL INCOME TAX CONSEQUENCES

The following summary of certain U.S. Federal income tax consequences is for
informational purposes only and is not a substitute for careful tax planning and advice based
upon the particular circumstances pertaining to each holder of an Allowed Claim. Each holder of
an Allowed Claim is urged to consult his own tax advisors. This summary does not cover all
potential U.S. federal income tax consequences that could possible arise under the Plan and does
not address the Plan’s U.S. federal income tax consequences for any holder of an Allowed Claim
that is a partnership (or other pass-through entity) or otherwise subject to special tax rules.

The Plan Proponent haves not requested any ruling from the Internal Revenue Service or
any other taxing authority with respect to such matters nor will the Plan Proponent, with respect
to the federal income tax consequences of the Plan, obtain any opinion of counsel.
Consequently, there can be no assurance that the treatment set forth in the following discussion
will be accepted by the IRS. The Plan Proponent offers no statements or opinions that are to be
relied upon by the creditors as to the treatment of creditors’ claims under the Plan. Matters not
discussed in this Disclosure Statement may affect the tax consequences of the Plan on any
particular holder of a Claim or Equity Interest -

This summary is based upon the laws in effect on the date of this Disclosure Statement
and existing judicial and administrative interpretations thereof, all of which are subject to
change, possibly with retroactive effect. Holders of Allowed Claims should consult their own tax
advisors as to the Plan’s specific federal, state, local and foreign income and other tax
consequences.

The tax consequences to Creditors and Interest Holders will differ and will depend on
factors specific to each Creditor or Interest Holder, including but not limited to: (1) whether the
Claim or Interest (or portion thereof) constitutes a claim for principal or interest; (ii) the origin
of the Claim or Interest; (iii) the type of consideration received by the Creditor or Interest Holder
in exchange for the Claim or Interest; (iv) whether the Creditor or Interest Holder is a United
States person or foreign person for tax purposes; (v) whether the Creditor or Interest Holder
reports income on the accrual or cash basis method; (vi) whether the Creditor or Interest Holder

has taken a bad debt deduction or otherwise recognized loss with respect to a Claim or Interest.
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THERE ARE MANY FACTORS WHICH WILL DETERMINE THE TAX
CONSEQUENCES TO EACH CREDITOR OR INTEREST HOLDER.
FURTHERMORE, THE TAX CONSEQUENCES OF THE PLAN ARE COMPLEX, AND

| IN SOME CASES, UNCERTAIN. THEREFORE, IT IS IMPORTANT THAT EACH
CREDITOR OR INTEREST HOLDER OBTAIN HIS, HER OR ITS OWN TAX ADVICE
REGARDING THE TAX CONSEQUENCES TO SUCH CREDITOR OR INTEREST
HOLDER AS A RESULT OF THE PLAN.

THE DISCUSSION HEREIN IS NOT INTENDED OR WRITTEN TO BE USED,
AND CANNOT BE USED, BY ANY CREDITOR OR INTEREST HOLDER FOR THE
PURPOSE OF AVOIDING TAX PENALTIES THAT MAY BE IMPOSED ON A TAX
PAYER. THE DISCUSSION HEREIN WAS WRITTEN TO SUPPORT THE
TRANSACTIONS DESCRIBED IN THIS DISCLOSURE STATEMENT. EACH
CREDITOR OR INTEREST HOLDER SHOULD SEEK ADVICE BASED UPON THE
CREDITOR’S OR INTEREST HOLDER’S PARTICULAR CIRCUMSTANCES FROM
AN INDEPENDENT TAX ADVISOR.

ADDITIONAL INFORMATION

Requests for information and additional copies of this Disclosure Statement and the other
materials delivered together herewith and all deliveries, correspondence and questions, as the
case may be, relating to the Plan should be directed to (i) Counsel to the Debtor: Charles E
Simpson, Esq., Windels Marx Lane & Mittendorf, 156 West 56th Street, New York, NY
10019;; (ii) Counsel to the Plan-Proponent;: Jaspan Schlesinger LLP, 300 Garden City Plaza,
Fifth Floor, Garden City, New York 115530—, Attn: -Frank—-C-—DeH'AmeoreChristopher_D.
Palmieri, Esq., (iii) Fhethe_Office of the United States Trustee, U-S—Federal Office Building,
201 Varick Street, Suite 1006, New York, New-YorkNY 10014-9449 or (#vili) may be retrieved
from the Court’s web site at https://ecf.nyeb.uscourts.gov (provided such party has PACER

| access)-by-searching Case No-).

 

 

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Copies of all pleadings, orders, lists, schedules, proofs of claims or other documents

submitted in these cases are on file in the Office of the Clerk of the United States Bankruptcy

| Court; Eastern District of New York,Conrad B. Duberstein U.S. Courthouse, 271-C Cadman

Plaza East, Brooklyn, NY 11201-1800, and are available for public inspection Monday through
Friday, between the hours of 9:00 a.m. and 5:00 p.m.

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CONCLUSION

The Plan Proponent believes that confirmation of the Plan is in the best interests of all
| Creditors_and Interest Holders.

Dated: Garden City, New York
| Januaryt4_May 22, 2020

Jaspan Schlesinger LLP

By:
~——_Frank-C Delt Amore:Esq-
Christopher D. Palmieri, Esq.
300 Garden City Plaza
Garden City, New York 11530
(516) 746-8000

Attorneys for 5 Avenue Mixed Use LLC

 

5™4 AVENUE MIXED USE LLC

By:

 

David Aviram, Menegerlason Leibowitz,

Authorized Person

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Appendix
# Debtor Name Case No. Last 4 Digits of EIN
1. 4811 Associates LLC 19-44263 9576
2. 5505 Associates LLC 19-44264 9596
3. 5507 Associates LLC 19-44265 9544

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EXHIBIT A -

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BIDDING PROCEDURES”

The following bid procedures (the “Bidding Procedures”), which were approved by an
order for the United States Bankruptcy Court for the Eastern District_of New York (the
“Bankruptcy Court”) dated , 2020, shall govern the Auction and Sale of the real property
of 4811 Associates LLC ("4811"), 5505 Associates LLC ("5505"), 5507 Associates LLC
("5507", together with 4811 and 5505, the “Debtors”) commonly known_as and located _at: (i)
4811 5" Avenue, Brooklyn, New York 11220 (Block 775; Lot 4) ("4811 Property"); (ii) 5505 5°
Avenue, Brooklyn, New York 11220 (Block 832: Lot 7) ("5505 Property"); and (iii) 5507 5h
Avenue, Brooklyn, New York 11220 (Block 832; Lot 6) ("5507 Property") (collectively, the
“Properties”), as described in those certain First Amended Plans of Reorganization for the
Debtors (the “Plan”), and First_Amended_ Disclosure Statements _to Chapter 11 Plan_of

Reorganization for the Debtors (the “Disclosure Statement”) which were filed _by 5 Avenue
Mixed Use LLC (the “Proponent’) with the Bankruptcy Court on or about May 22, 2020. The

Proponent will seek entry of an order from the Bankruptcy Court authorizing and approving the
Sale of the Properties free and clear of liens, claims, encumbrances, and_ interests, to the
Successful Bidder(s) (as defined in the Plan and Disclosure Statement) as may be made at the

Auction (as defined below).

A. Approvals. The proposed sale shall in all respects be subject to approval by the
Bankruptcy Court and in compliance with (i) the applicable provisions of the

Bankruptcy Code, (ii) the Bankruptcy Rules, and (iii) other applicable rules and

law.

B. Assets to be Sold. The assets to be sold shall consist of the Properties, which will
be sold in separate lots by Rosewood Realty Group, Greg Corbin, President (the

“Broker”), who has been engaged by the Proponent. Such sales shall be free and

clear of liens, claims, encumbrances and interests, except for valid written leases
between the Debtor and residential tenants at the Properties (and in the event that
the Successful Bidder is the Proponent, subject to its existing mortgage at the
option of the Proponent), and shall be struck off to the party offering the highest

and best bid as determined by the Proponent in its sole and absolute discretion, for
the Properties, in the following order:

(i) 4811 Property
(ii) 5505 Property
(iii) __ 5507 Property

 

 

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B. Sale As Is, Where Is. Each of the Properties shall be sold_as is, where is, without
any representation or warranty of any type whatsoever.

C. Qualification of Bidders. Any potential bidder, other than the Proponent,” that

wishes to submit a bid with respect to one or more Properties must demonstrate to
the satisfaction of the Proponent, with recommendation from the Broker, that such
otential bidder is a “Qualified Bidder.” A Qualified Bidder is a potential bidder

who delivers to the Broker in advance of the Auction (i) a written, signed, copy of

the Terms of Sale supplied by the Broker and (ii) the required qualifying deposit

(as shall be advertised by the Broker no less than 30 days prior to the scheduled
auction).

   

D. Buyer’s Premium. The Buyer’s Premium shall be 5% of the amount of the
Successful Bid (defined below) payable by the Successful Bidder to the Broker
within two (2) business days after the Auction, provided however, that if the
Proponent or its affiliate is the Successful Bidder, neither the Proponent nor its
affiliate shall be required to supply the Buyer’s Premium to the Broker.

E. Deposit Increase. Subiect_only to Section (E) hereinabove, if a Potential Bidder

(other than the Proponent or its affiliate) becomes the Successful Bidder, within
two (2) business days after the Auction, it shall, increase the Deposit as necessary

to an amount equal to ten (10%) percent of (i) the final bid at the Auction, plus (ii
the 5% Buyer’s Premium, within 48 hours of the Auction TIME BEING OF THE
ESSENCE.

EF. Closing Deadline. The Successful Bidder(s) shall close.on the purchase of the
applicable Property(ies) within thirty (30) days after the completion of the
applicable Auction, or on such other date as the Proponent and the Successful

Bidder shall otherwise agree to in writing, or_as may otherwise be directed by
Order_of the Bankruptcy Court (such date, the “Closing Date”), with TIME

BEING OF THE ESSENCE AS TO THE SUCCESSFUL BIDDER’S
OBLIGATION TO CLOSE ON THE CLOSING DATE AND TO PAY THE
BALANCE OF THE PURCHASE PRICE AT THE CLOSING. The Proponent

will use its reasonable best_efforts to obtain an order of the Bankruptcy Court
approving each sale and_a finding of good faith and non-collusive behavior of
such sale pursuant to Section 363(m) and (n) of the Bankruptcy Code within one
week of the completion of each Auction.

G. Proponent as Qualified Bidder. Notwithstanding anything herein to the contrary,
the Proponent is a Qualified Bidder and may credit bid up to the amount of its
claim for the Properties without the need_for any deposit_or fulfilling the other
requirements for a Potential Bidder to be a Qualifying Bidder.

 

 

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H. Auction. In the event that the Proponent receives by the Bid Deadline one or
more bids that it deems in its sole discretion, with recommendation from the

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Broker, to constitute Qualified Bids, the Broker shall conduct_an auction with
respect to the Properties (the Auction”). The Auction shall take place on a date to
be_set_by the Proponent no later than 5 business days after the applicable Bid
Deadline at 11:00 a.m. (ET) (the “Auction Time”) at such place and time as the
Broker shall notify all Qualified Bidders, the Proponent, and other invitees via e-
mail or facsimile not later than one (1) business day before the Auction Time (or
re-scheduled Auction Time, as applicable). If, however, no_ such other Qualified
Bid is received by the Bid Deadline, then the Auction will not be held, and Broker
shall so notify the Proponent _no later than one (1) business day after the Bid
Deadline and the Proponent shall proceed_to_seek_approval of the Bankruptcy
Court of a PSA containing the credit bid. The Auction shall be governed by the
following procedures:

(i) Only_authorized_representatives_and_ respective counsel _of each _of the
Qualified Bidders, the Proponent, and the Broker shall be permitted to

attend_and participate at the Auction, unless otherwise agreed to_by the
Broker in its sole discretion;

(11) Only the Proponent and other Qualified Bidders shall be entitled to make
any subsequent bids at the Auction;

(iii) __ Each Qualified Bidder shall be required to confirm that it has not engaged
in any collusion with respect to the bidding or the sale;

iv Bidding shall commence at the amount of the highest and best Qualified

Bid submitted by the Qualified Bidders by the Bid Deadline; provided,

however, that bidding may be conducted on each of the Property
separately, or by groups of Properties_as_ set forth in Section B
hereinabove;

(vy) The Proponent shall have the exclusive right to set the bidding increments

with consultation from the Broker;

 

(vi) The Proponent _and other Qualified Bidders shall participate in person at
the Auction (or through a method designated by Broker), through a dul

authorized representative with authority to bind the entity;

(vii) The Auction will be conducted so that the Proponent and each Qualified
Bidder will be informed of the previous bid;

(viii) The Auction shall continue until there is only one final offer for each of
the Properties or one final offer for all the Properties (either in groups or
all together) that the Proponent determines, with recommendation from the
Broker, subject to Bankruptcy Court approval, is the highest and best offer

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submitted at the Auction from among the Qualified Bidders and_the
Proponent_(the ‘‘Successful_ Bid”). The bidder submitting each such
Successful Bid shall become a “Successful Bidder’’ and shall have such
rights and responsibilities set forth herein, in the Plan and in any purchase
and sale agreement.

(ix)_ At the end of the Auction, the Broker shall also announce the next highest

and_ otherwise best_offer(s) after the Successful Bid (the “Next Highest
Bid(s),” and the Qualified Bidder that submitted such bid, the “Next
Highest Bidder(s)”), each such Next Highest Bid being for one or more of
the Properties as applicable.

x The Proponent reserves the right to seek approval of the Next Highest

Bid(s) as_a back—up bid and may seek approval at the Sale Hearing to
close the Sale to the Next Highest Bidder(s) if the Successful Bidder(s)
fails to close for any reason;

(xi) _if the Next Highest Bidder(s) is determined by the Proponent to have
submitted the Next Highest Bid(s), or next best _bid (the “Next Best

Bid(s)”) at the Auction, it will be considered_a back-up bid (the “Backup
Bid(s)”) and, the Next Highest Bidder(s), therefore, to be designated the
back-up bidder (the “Back-up Bidder(s)”), who shall be notified in wnting
that_the Proponent has determined to_proceed_with the Back-up Bid(s)
after_default_by the Successful Bidder(s), the Potential Bidder(s) shall

close_on the purchase _of the Property on the Back-up Closing Date (as
hereinafter defined), with TIME BEING OF THE ESSENCE AS TO THE

BACK-UP BIDDER’S OBLIGATION TO CLOSE AND TO PAY THE
BALANCE OF THE PURCHASE PRICE ON THE BACK-UP
CLOSING DATE;

 

(xii)__if (a) a Qualified Bidder is a Successful Bidder, the Deposit shall become
non-refundable and shall be forfeited by such Successful Bidder _as
liquidated damages in the event such Successful Bidder shall fail to close
the purchase of the Property(ies) on the Closing Date, except as otherwise
expressly permitted under the sale_agreement_entered_ into between the
Proponent and such Successful Bidder(s); and (b) if the Back-up Bidder(s)
and the Broker determine to proceed with the Back-up Bid(s) after default
by the Successful Bidder(s), the Deposit shall become. non-refundable and
shall be forfeited by such Back-up Bidder(s) as liquidated damages if the
Back-up Bidder(s) shall fail to close the purchase of the Property on the
Backup Closing Date(s), except_as_ otherwise expressly permitted under
the sale agreement entered into between the Proponent and such Back-up
Bidder(s); and

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(xiii) _If more than one Qualified Bidder(s) is received, after selection
of the Successful Bidder(s), the Proponent_shall determine in
its sole and absolute discretion, which bid constitutes highest
and best Successful Bid and Back-up Bid.

1. Closing on Back-up Bid. If for any reason the Successful Bidder(s) shall fail to
timely close the sale of the Property, and the Proponent, in accordance with the
provisions of the sale agreement entered into between the Proponent, on behalf of
the Debtor’s estate, and the Successful Bidder(s), determine to proceed with the
Back-up Bid(s), the Back-up Bidder(s) shall close on the purchase of the Property
and pay the amount of the Back-up Bid(s), less its Deposit previously posted, on
the later of the Closing Date and thirty (30) business days after written notice of

the Successful Bidder’s default_in_ closing (the “Back-up Closing Date”), with
TIME BEING OF THE ESSENCE AS TO THE BACK-UP BIDDER’S

OBLIGATION TO CLOSE ON THE BACK-UP CLOSING DATE AND TO
PAY THE BALANCE OF THE PURCHASE PRICE AT THE CLOSING. If the

Proponent proceeds with the Back-up Bid(s), then the Back-up Bidder(s) shall be
obligated to close title to the Property(ies) and there shall be no contingency of
any kind or nature that will permit the Back-up Bidder(s) not to proceed_on the
Back-up Closing Date other than the inability of the Proponent to deliver title to
the Property(ies). In the event the Back-up Bidder(s) shall be obliged, but_shall
fail, to timely close purchase of the Property(ies) in accordance with the
provisions of the sale_agreement_entered_into_between_ the Proponent_and_the
Back-up Bidder(s), the Back-up Bidder(s) shall be in default, and the Back-up
Bidder(s) shall forfeit its Deposit. Notwithstanding the foregoing, the Purchaser
shall have the right, but not the obligation, to extend the Back-up Closing Date up
to_an additional ten (10) business days (the “Adjourned Back-up Closing Period”),
with TIME BEING OF THE ESSENCE as to the Back-up Bidder’s obligation to
close prior to the expiration of the Adjourned Back-up Closing Period; and in
such event, if the Back-up Bidder(s) shall fail to close the purchase of the
Property prior to expiration of the Adjourned Back-up Closing Period in
accordance with the provisions of its sale agreement, the Backup Bidder(s) shall
be in default and the Back-up Bidder(s) shall forfeit its Deposit.

J. At the conclusion of the Auction, the Broker will return the Qualifying Deposits
to_all bidders, except for the Successful Bidder _and the Back-up Bidder. The
Back-Up Bidder’s Qualifying Deposit shall be returned within two (2) business
days following the Successful Purchaser posting the total required Deposit and
Buyer’s Premium.

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ASSETS

Proceeds from sale of the
Properties
Cash Cc

ontribution
TOTAL ASSETS:
Unclassified

Administrative Claims
US Trustee

Professional Fees

Priority Tax Claims
Broker

Plan Proponent Secured Claim
NY Claims
General Unsecured Claims

Chapter 7 Trustee Professional
Expenses

TOTAL LIABILITIES:

Amount Available for
Unsecured Claims

 

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EXHIBIT B
LIQUIDATION ANALYSIS
THE PLAN CHAPTER7
$4152,104776,900,000.007 $6,900,000.00”
$252,101.77 $0.00
$7,152,101.77 $6,900,000.00
$83,950.00 $0.00
$22,500.00 $22,500.00
$38,618.72 $38,618.72
$0345.000.00 $345,000.00
$6,904, 196.967 $6,904, 196.96
$92,236.09 $92,236.09
$10,600.00 $10,600.00
$0.00 $230,249.85
$7,452497,101.77 $7,643,401.62604,782.90
$10,600.00 $0.00

 

for the sole purpose of this iui wralysis, Th This is not an admission or a representation of value for any ue for any other er

purpose.

*" This figure adopts the valuation of the Properties as set forth in n the Debtor’ s Petitions $ for the sole purpose of this

liquidation analysis r

 

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Percentage Recovery for 100% 0%
Unsecured Creditors

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